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                               IN THE UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION

IN RE: Lisa Diane Polk                                               Case No: 14-50822
       527 Sixth Street
       Marietta, OH 45750                                            Chapter 13

                                                                     Judge: C KATHRYN PRESTON


                     CHAPTER 13 TRUSTEE'S CERTIFICATION OF FINAL PAYMENT
                                     AND CASE HISTORY

The above case having been COMPLETED on October 18, 2018, the Trustee has filed this Certification of Final
Payment and Case History and has attached a detailed record of all receipts and disbursements. A review of the
case file at the Bankruptcy Court did not reveal any filed proofs of claims other than as herein set forth.

A FINAL REPORT will be filed with the Court after all checks issued by the Trustee have cleared the Trustee's
Account. That report will account for any receipts and the disbursements since the issuance of the Certification
of Final Payment and Case History.

Bankruptcy Rule 1007(b) (7) requires the Chapter 13 debtor to file a statement regarding completion of a course
in personal financial management prepared as prescribed by the appropriate Official Form. The statement
required by this section shall be filed by the debtor no later than the date when the last payment was made by the
debtor as required by the plan or the date of the filing of a motion for discharge under §1328(b).

Within thirty (30) days of the filing of this Chapter 13 Trustee's Certification of the Final Payment and Case
History, debtors shall file with the Court the Debtor(s)' Certification Regarding Issuance of Discharge Order.
The form can be viewed on the Trustee's website at ch13.org/forms.php.

                                                                        /s/ Frank M. Pees
                                                                        FRANK M. PEES TRUSTEE
                                                                        130 E WILSON BRIDGE RD #200
                                                                        WORTHINGTON, OH 43085-6300
                                                                        (614)436-6700




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IN RE: Lisa Diane Polk                                               Case No: 14-50822
       527 Sixth Street
       Marietta, OH 45750                                            Chapter 13

                                                                     Judge: C KATHRYN PRESTON


                          CHAPTER 13 TRUSTEE'S CERTIFICATION OF FINAL PAYMENT
                                          AND CASE HISTORY


The Case was commenced on February 13, 2014.
The plan was confirmed on August 13, 2014.
The Case was concluded on October 18, 2018.

        A FINAL REPORT will be filed with the Court after all checks issued by the Trustee have cleared the
        Trustee's Account. That report will account for any receipts and disbursements since the issuance of the
        Certification of Final Payment and Case History.
        THIS CASE IS COMPLETED AND THE DEBTOR IS ENTITLED TO A DISCHARGE.

        RECEIPTS: Amount paid to the Trustee by or for the Debtor for benefit of creditors:       43,106.29

DISBURSEMENTS TO CREDITORS:
DIVIDEND TO UNSECURED: 100.00%


NAME OF CREDTIOR/                                  AMOUNT                AMOUNT PAID                  BALANCE
CLAIM NUMBER                                      ALLOWED            PRINCIPAL    INTEREST                DUE
American Electric Power                               82.00           82.00            0.00               0.00
00017       Administrative Priority
American Electric Power                                500.36        500.36                0.00               0.00
00016       Unsecured
Barix Clinics of Ohio, Inc                           Not filed          0.00               0.00               0.00
00020       Unsecured
Cerastes LLC                                         5,880.81       5,880.81               0.00               0.00
00004       Unsecured
Chase                                                Not filed          0.00               0.00               0.00
00006       Unsecured
Citi Card                                            Not filed          0.00               0.00               0.00
00007       Unsecured
Comenity Bank - Victorias Secret                     Not filed          0.00               0.00               0.00
00008       Unsecured
Department Stores National Bank/Macys                Not filed          0.00               0.00               0.00
00009       Unsecured
DEPT STORES NATL BANK/MACYS                          1,300.57       1,300.57               0.00               0.00
00015       Unsecured

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NAME OF CREDTIOR/                                   AMOUNT                 AMOUNT PAID                    BALANCE
CLAIM NUMBER                                       ALLOWED           PRINCIPAL      INTEREST                  DUE
DISCOVER BANK                                        1,381.61       1,381.61             0.00                 0.00
00010        Unsecured
GE Capital Retail Bank - Belk                         Not filed         0.00                    0.00            0.00
00011        Unsecured
JP MORGAN CHASE BANK                               Surrendered          0.00                    0.00            0.00
00002        Disallowed Per Plan
JP MORGAN CHASE BANK                               Surrendered          0.00                    0.00            0.00
00003        Disallowed Per Plan
JPMORGAN CHASE BANK NA                                7,935.02      7,935.02                83.18               0.00
00001        Secured-PMSI
Lisa Diane Polk                                           0.00          0.00                    0.00            0.00
00000        Debtor Refund
Lisa Diane Polk                                         482.69        482.69                    0.00            0.00
00000        Debtor Refund
Northeast Ohio Natural Gas                            Not filed         0.00                    0.00            0.00
00018        Unsecured
PORTFOLIO RECOVERY ASSOC                              3,374.47      3,374.47                    0.00            0.00
00005        Unsecured
PORTFOLIO RECOVERY ASSOC                              3,381.10      3,381.10                    0.00            0.00
00012        Unsecured
Quantum3 Group LLC as agent for                       1,520.83      1,520.83                    0.00            0.00
00013        Unsecured
Robert Ellis                                            427.50        427.50                    0.00            0.00
00019        Additional Attorney Fees
US DEPARTMENT OF EDUCATION                         Continuing      12,158.64                    0.00            0.00
00014        Continuing
Previously refunded during
pendency of case                                        482.69             482.69

SUMMARY OF CLAIMS ALLOWED AND PAID:
              SECURED      PRIORITY              UNSECURED         CONT DEBTS           SPECIAL               TOTAL
ALLOWED         8,362.52       82.00                17,339.75              0.00           482.69            26,266.96
PRIN PAID       8,362.52       82.00                17,339.75         12,158.64           482.69            38,425.60
INT PAID           83.18        0.00                     0.00              0.00                                 83.18
                                                                                  TOTAL PAID:            38,508.78

OTHER DISBURSEMENT UNDER ORDER OF COURT:

DEBTOR'S ATTORNEY                                                              ALLOWED                 TOTAL PAID
Robert Ellis                                                                     2,450.00                 2,450.00

COURT AND OTHER EXPENSES OF ADMINISTRATION:
        TRUSTEE'S % FEE                 OTHER COSTS               NOTICE FEES                          TOTAL PAID
            2,577.13                        0.00                     53.07                                2,630.20


Dated:10/24/2018                                                        /s/ Frank M. Pees



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                                                     FRANK M. PEES TRUSTEE
                                                     130 E WILSON BRIDGE RD #200
                                                     WORTHINGTON, OH 43085-6300
                                                     (614)436-6700




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION
IN RE: Lisa Diane Polk                                               Case No: 14-50822
       527 Sixth Street
       Marietta, OH 45750                                            Chapter 13

                                                                     Judge: C KATHRYN PRESTON

                             CERTIFICATION AND OPPORTUNITY TO OBJECT

The debtor having completed payments under the plan and the Trustee having filed a Chapter 13 Trustee’s
Certification of Final Payment and Case History:

NOTICE is hereby given that if an interested party desires to object to the accounting or to any part thereof they
must file an objection and a request for hearing within thirty (30) days of the service of this Certification or the
Court will close the estate and the Trustee and the surety will be released from the Trustee’s bond. Any
objection must set forth with specificity the facts on which the objection is based and be served on the Trustee,
debtor, and debtor’s attorney.

A Trustee’s Final Report and Account will be filed with the Court after all checks issued by the Trustee have
cleared the Trustee’s Account. No notice will be given of the filing of the Final Report as this notice is intended
to comply with 11 U.S.C. §1302(b)(1) and FRBP 5009(a).

Frank M. Pees, Chapter 13 Trustee, does hereby certify the estate has been fully administered except for any
uncleared checks issued by the Trustee and that the attached is an accounting of all receipts and disbursements
made herein as of the date of the issuance of this Trustee's Certification of Final Payment and Case History.




                                                                         /s/ Frank M. Pees
                                                                         FRANK M. PEES TRUSTEE
                                                                         130 E WILSON BRIDGE RD #200
                                                                         WORTHINGTON, OH 43085-6300
                                                                         (614)436-6700




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                                        EASTERN DIVISION

IN RE: Lisa Diane Polk                                             Case No: 14-50822
       527 Sixth Street
       Marietta, OH 45750                                          Chapter 13

                                                                   Judge: C KATHRYN PRESTON

                                        CERTIFICATE OF SERVICE
      I hereby certify that on October 24, 2018, a copy of the foregoing Certification of Final Payment and
Case History was served on the following registered ECF participants, electronically through the court’s ECF
System at the email address registered with the court:
Asst. U.S. Trustee
Frank M. Pees
Robert Ellis
and on the following by ordinary U.S. Mail addressed to:
Lisa Diane Polk
527 Sixth Street
Marietta, OH 45750
See Creditor Matrix
All Creditors and Parties in Interest




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JPMorgan Chase Bank, NA                 Department Stores National Bank      Quantum3 Group LLC as agent for
, 000000000                             Macy&#039;s                          MOMA Funding LLC
                                        PO Box 8066                          PO Box 788
AEP Ohio                                Mason, OH 450408066                  Kirkland, WA 980830788
PO Box 24401
Canton, OH 447014401                    Department Stores National           U.S. Department of Education C/O
                                        Bank/Macy's                          Nelnet
American Electric Power                 Bankruptcy Processing                121 S 13TH ST, SUITE 201
Attn: Bankruptcy                        Po Box 8053                          LINCOLN, NE 685080000
1 AEP Way                               Mason, OH 450400000
Hurricane, WV 255260000                                                      US Department Of Education
                                        Discover                             Direct Loan Servicing Center
Asst US Trustee (Col)                   PO Box 30943                         PO Box 5602
Office of the US Trustee                Salt Lake City, UT 841300943         Greenville, TX 754035602
170 North High Street
Suite 200                               Discover Bank                        Frank M Pees
Columbus, OH 432150000                  DB Servicing Corporation             130 East Wilson Bridge Road
                                        PO Box 3025                          Suite 200
Barclays Bank Deleware                  New Albany, OH 430543025             Worthington, OH 430850000
Juniper Mastercard
700 Prides Xing                         Family Credit Management             Lisa Diane Polk
Newark, DE 197130000                    4304-06 Charles Street               527 Sixth Street
                                        Rockford, IL 611080000               Marietta, OH 457500000
Barix Clinics of Ohio, Inc.
135 S. Prospect Street                  GE Capital Retail Bank - Belk        Robert Ellis
Ypsilanti, MI 481980000                 PO Box 965028                        328 4th St
                                        Orlando, FL 328965028                Marietta, OH 457500000
Barix Clinics of Ohio, Inc.
3964 Hamilton Square Blvd               GE Capital Retail Bank - Lowes
Groveport, OH 431250000                 Attn: Bankruptcy Department
                                        PO Box 103104
CERASTES, LLC                           Roswell, GA 300769104
C O WEINSTEIN,PINSON AND
RILEY, PS                               JPMorgan Chase Bank, N.A.
2001 WESTERN AVENUE, STE 400            Chase Records Center
SEATTLE, WA 981210000                   700 Kansas Lane
                                        Monroe, LA 712030000
Capital One
PO Box 30285                            JPMorgan Chase Bank, N.A.
Salt Lake City, UT 841300285            PO Box 901032
                                        Fort Worth, TX 761012032
Chase Auto Finance
PO Box 901076                           Michael T Polk
Fort Worth, TX 761012076                90 Railroad Street
                                        Whipple, OH 457880000
Chase Home Equity Loan Servicing
PO Box 24714                            Northeast Ohio Natural Gas Corp.
Columbus, OH 432240714                  PO Box 94824
                                        Cleveland, OH 441014824
Citi Card
PO Box 6500                             Paypal Buyer Credit
Sioux Falls, SD 571176500               GEMB
                                        PO Box 981064
Comenity Bank - Victoria's Secret       El Paso, TX 799981064
Bankruptcy Department
PO Box 182125                           Portfolio Recovery Associates, LLC
Columbus, OH 432182125                  POB 41067
                                        Norfolk, VA 235410000



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